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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION

SIMMONS BANK, TRUSTEE OF THE
HEARTLAND BANK LIQUIDATING TRUST
U/I/D MARCH 8, 2018                                            PLAINTIFF

v.                         No. 4:17-cv-549-DPM

FIRST CAPITAL VICTORIA LLC;
RREAF VICTORIA LLC; FIRST
CAPITAL JOURDANTON LLC; RREAF
JOURDANTON LLC; FIRST CAPITAL
HOBBS LLC; RREAF HOBBS LLC; FIRST
CAPITAL REAL ESTATE INVESTMENTS LLC;
FIRST CAPITAL RETAIL LLC; FIRST
CAPITAL REAL ESTATE ADVISORS LP;
SUNEET SINGAL; TCA GLOBAL CREDIT
MASTER FUND LP; BRANDON "ROCKY"
KALLER; and RAMESH PRASAD                                  DEFENDANTS

                                JUDGMENT
        1.   Simmons Bank, Trustee of the Heartland Bank Liquidating
Trust   U/I/D March 8, 2018, shall have judgment against First Capital
Victoria LLC for $5,985,241.98.         This total amount includes the
underlying debt of $4,420,325.61 plus $1,564,916.37 for prejudgment
interest at 13% from 30 June 2016 until today.
        2.   Simmons Bank, Trustee of the Heartland Bank Liquidating
Trust U/l/D March 8, 2018, shall have judgment against First Capital
Jourdanton     LLC for $6,880,964.86.        This amount includes the
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underlying debt of $5,081,850.54 plus $1,799,114.32 for prejudgment
interest at 13% from 30 June 2016 until today.
     3.    Simmons Bank, Trustee of the Heartland Bank Liquidating
Trust U/l/D March 8, 2018, shall have judgment against First Capital
Hobbs LLC for $8,027,364.61. This amount includes the underlying
debt of $5,928,509.74 plus $2,098,854.87 for prejudgment interest at 13%
from 30 June 2016 until today.
     4.    Simmons Bank, Trustee of the Heartland Bank Liquidating
Trust U/I/D March 8, 2018, shall have judgment against First Capital
Real Estate Investments LLC for $14,908,329.47. This total amount
includes the underlying debt of $11,010,360.28 plus $3,897,969.19 for
prejudgment interest at 13% from 30 June 2016 until today.
     5.    Simmons Bank, Trustee of the Heartland Bank Liquidating
Trust U/I/D March 8, 2018, shall have judgment against Suneet Singal
for $20,893,571.45. This total amount includes the underlying debt of
$15,430,685.89 plus $5,462,885.56 for prejudgment interest at 13% from
30 June 2016 until today.
     6.    All claims against First Capital Retail LLC, RREAF Victoria
LLC, RREAF    Jourdanton LLC, RREAF Hobbs LLC, First Capital Real
Estate Advisors LP, TCA Global Credit Master Fund LP, Brandon
"Rocky" Kaller, and Ramesh Prasad are dismissed without prejudice.
Counts III and IV of the second amended complaint are dismissed
without prejudice.
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        7.   Simmons Bank, Trustee of the Heartland Bank Liquidating
Trust    U/l/D   March 8, 2018, is entitled to seek allowable costs by
motion due by 5 April 2019.
        8.   The amounts awarded in the Judgment shall bear post         -




judgment interest at 2.52% per annum until paid in full.

                                               çJlj
                                    D.P. Marshall  1c.
                                    United States District Judge

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